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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


TAMER MAHMOUD, et al.,
                                                Case No. 8:23-cv-01380-DLB
        Plaintiffs,

   v.                                              PLAINTIFFS’
                                              SUPPLEMENTAL BRIEF IN
MONIFA B. MCKNIGHT, in her official          SUPPORT OF MOTION FOR
capacity as Superintendent of the            PRELIMINARY INJUNCTION
Montgomery Board of Education, et al.,

        Defendants.



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   Plaintiffs (the “Parents”) respectfully submit this brief to provide the Court with

additional information regarding the School Board’s Health Education on “family life

and human sexuality” instruction.

   At the August 9 hearing on the Parents’ motion for preliminary injunction, the

Court inquired about whether the contents of the School Board’s Health Education

and the Pride Storybooks were comparable under Tandon v. Newsom. Comparability

is determined by “the asserted government interest that justifies the regulation at

issue.” 141 S. Ct. 1294, 1296 (2021); see also Br. 19; Reply 9. Here, the School Board’s

own Policy ACA on Nondiscrimination, Equity, and Cultural Proficiency makes

promoting diversity and equity an interest for all “‘[i]nstructional materials used in

MCPS schools’” that goes “‘beyond meeting the letter of the law.’” Reply 10 (quoting

Opp. Ex. 1 at 2, 5, 7). Below, the Parents explain how the substance of the Health

Education instruction is comparable to the substance of the Pride Storybooks, further

evidencing how both activities advance the same inclusivity and safety interests.

   First, the School Board’s own website documents the inclusivity and safety efforts

underlying the gender and sexuality topics taught in family life and human sexuality

instruction. By Grade 5, students will know how to “[d]escribe male and female

stereotypes and their impact on the individual and a diverse society.” Comprehensive

Health Education in Grade 5: Family Life and Human Sexuality, Montgomery

County Public Schools, https://perma.cc/W6N5-2TY7. By Grade 7, students will:

discuss “sexual orientation,” “gender identity,” and “teasing, bullying, and

intolerance related to all aspects of sexuality”; “[d]emonstrate respect for individual

differences in all aspects of sexuality”; “[a]ccess research-based information about

gender identity, gender expression, and sexual orientation”; “[c]ommunicate

respectfully with and about all people”; “[a]dvocate to promote dignity and respect for

all people”; and “[p]ersuade others to avoid teasing, bullying, or stigmatizing others

based on their personal characteristics or aspects of their sexuality.” Comprehensive


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Health Education in Grade 7: Family Life and Human Sexuality, Montgomery

County Public Schools, https://perma.cc/8QRK-3SGR. And in high school, students

are expected to: “[j]ustify the benefits of respecting individual differences in aspects

of sexuality”; “[i]dentify how school and community programs and policies can

promote dignity and respect for people of all sexual orientations and gender identities

and expressions”; “[e]xamine the impact of gender expression and gender identity on

members of marginalized communities”; and “[a]nalyze ways systemic oppression

and intersectionality impact the sexual agency of communities of color and other

marginalized groups.” Health Education in High School: Health Education A Scope

and Sequence, Montgomery County Public Schools, at Unit 4: Family Life and Human

Sexuality, https://perma.cc/HB3Y-P7A8; Health Education in High School: Health

Education B Scope and Sequence, Montgomery County Public Schools, at Unit 8:

Family Life & Human Sexuality, https://perma.cc/9H26-5DJZ. These objectives are

stated in language more appropriate for middle- and high-school-level instruction,

but the same interests motivate the Pride Storybooks elementary school mandate.

Opp. at 25-27.

   Second, the Maryland Comprehensive Health Education Framework also

confirms that gender identity and sexuality are taught in Health Education classes,

under the rubric of family life and human sexuality, and advances the School Board’s

asserted inclusivity and safety interests. Maryland Comprehensive Health Education

Framework: Pre-Kindergarten Through High School, Maryland State Department of

Education (June 2021), https://perma.cc/UT6W-8FWN. Specifically, the Maryland

Framework was “updated … in 2020” to “implement the [2019] regulation” and

“reflect statutory changes in health education, anti-bullying and harassment, and

ensuring educational equity.” Id. at 6. Per the Framework, “[l]ocal educational

professionals should ensure that lessons and content are age appropriate and reflect

educational equity,” while “[l]ocal education agencies develop the curricula to


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implement the regulations … aligned with the framework.”1 Id. As part of family life

and human sexuality instruction, students in Grades 2 and 3 are expected to

“[d]emonstrate ways to treat people of all gender identities and expressions with

dignity and respect.” Id. at 30. In Grades 6-8, students are expected to: “[d]efine sex

assigned at birth, gender identity, and gender expression”; “[c]ompare sex assigned

at birth and gender identity and explain how they may or may not differ”; “[e]xplain

sex assigned at birth and gender identity and explain how they may or may not

differ”; “[e]xplain sexual orientation”; “[d]efine sexual identity and explain a range of

identities related to sexual orientation”; and “[d]escribe sexual identity and explain a

range of identities related to sexual orientation.” Id. at 33. By high school, students

are expected to “[i]dentify” and “[a]nalyze how school and community programs and

policies can promote dignity and respect for people of all sexual orientations and

gender identities and expressions.” Id. at 37.

    In sum, the inclusivity and safety interests underlying the Pride Storybooks are

present in the School Board’s Health Education curriculum on family life and human

sexuality. Those comparable interests are confirmed by the comparable substance of

Health Ed objectives and the Pride Storybooks. Yet opt-outs are allowed for the

former while denied for the latter. Teaching the same objectives in a different class

period under a different label changes nothing. Reply 9 (citing Diocese of Brooklyn v.

Cuomo, 141 S. Ct. 63, 66 (2020)).2 The School Board’s disparate treatment is not

generally applicable, and therefore warrants strict scrutiny under Tandon.


1   Local education agencies are also required to “establish policies, guidelines, and procedures for
parents to opt-out their students from family life and human sexuality instruction in all grades, except
for HIV and AIDS prevention,” which “reflects the State Board’s and MSDE’s respect for individual
parents’ values and beliefs concerning family life and human sexuality instruction.” Framework at 6.
2   See also Students for Fair Admissions, Inc. v. President and Fellows of Harvard College, 143 S. Ct.
2141, 2176 (2023) (“‘[W]hat cannot be done directly cannot be done indirectly. The Constitution deals
with substance, not shadows,’ and [a constitutional] prohibition … is ‘levelled at the thing, not the
name.’” (quoting Cummings v. Missouri, 71 U.S. (4 Wall.) 277, 325 (1867)).



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Dated: August 10, 2023             Respectfully submitted,
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                          CERTIFICATE OF SERVICE

   I hereby certify that on August 10, 2023, the foregoing brief was served on counsel

for all parties by means of the Court’s ECF system in compliance with

Fed. R. Civ. P. 5.


Dated: August 10, 2023                 /s/ Eric S. Baxter
                                       Eric S. Baxter




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